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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

Case No. SACV20-00993 MCS (DFMx) Date: June 29, 2021

 

Title Netlist, Inc. v. Samsung Electronics

 

 

Present: The Honorable Douglas F. McCormick, United States Magistrate Judge

 

 

 

 

Nancy Boehme AT&T Digital Recording
Deputy Clerk Court Reporter
Attorney(s) for Plaintiff(s): Attorney(s) for Defendant(s):
Jason Lo .
Raymond LaMagna Chris Lee

Proceedings: Informal Discovery Conference

Case called and counsel make their appearances. Court and counsel confer regarding
outstanding discovery issues. Court sets further hearing for July 13, 2021, at 10:30 am.

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Initials of Clerk nb

 

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